     Case 1:06-cr-00085-PB   Document 45   Filed 01/18/07   Page 1 of 2




                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE




United States of America

     v.                                      Case No. 06-cr-85-01-PB

Richard Villar

                               O R D E R


     The defendant has moved to continue the February 6, 2007

trial in the above case, citing the need for additional time to

complete discovery and prepare a defense.        The government does

not object to a continuance of the trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from February 6, 2007 to May 1, 2007.             In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.
      Case 1:06-cr-00085-PB   Document 45   Filed 01/18/07   Page 2 of 2




      The January 18, 2007 final pretrial conference is continued

to April 19 at 3:45 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

January 18, 2007

cc:   Jeffrey Levin, Esq.
      Terry Ollila, AUSA
      United States Probation
      United States Marshal




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